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                         UNITED STATES DISTRICT COURT FOR
                             THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                          :
                                                   :
        v.                                         : CASE NO. 21-CR-036 (CJN)
                                                   :
 GINA BISIGNANO,                                   :
                                                   :
        Defendant.                                 :

                           GOVERNMENT’S REQUEST FOR HEARING

       The United States of America hereby requests a status hearing in the above captioned case to

address the defendant’s pretrial violations and to resolve the pending motion for withdrawal of the

defendant’s guilty plea. In light of this request, the government makes the following representations:

   1. On August 4, 2021, the defendant plead guilty to Counts 1, 2, 4, 5, 6 and 7 of the indictment.

       Because that plea was made pursuant to a cooperation agreement with the government, the

       parties requested that the Court continue the sentencing in this case until the defendant’s

       cooperation with the government was complete.

   2. On May 20, 2022, the defendant moved to withdraw her guilty plea as to Count 1 of the

       indictment, charging her with a violation of 18 U.S.C. 1512(c)(2). The primary basis for that

       motion was a claim of actual innocence following this Court’s ruling in United States v. Miller,

       21-cr-119 (CJN). See, ECF No. 51, at 4-5.

   3. On July 12, 2022, the Court held a hearing on the motion, and held the motion in abeyance,

       pending the D.C. Circuit Court of Appeals ruling in Miller. See Minute Entry July 12, 2022.

   4. From February 25, 2023 to March 2, 2023, the defendant was present in Washington, D.C.

       under a subpoena to testify for the government in Untied States v. Edward Badalian, 21-cr-

       246-2 (ABJ). The defendant did testify during that trial.

   5. However, during her time in Washington, D.C., the defendant violated her pretrial conditions
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       by attending the “January 6 Block Party” outside the D.C. jail. Pretrial Services submitted a

       violation report based on this violation on March 6, 2023. ECF No. 58.

   6. On March 14, 2023, the government responded to this Court’s Minute Order from March 7,

       2023, ordering the government to respond to the Pretrial Violation Report from March 6,

       2023. ECF No. 59. The government requested an in-person hearing to address the violations

       in the report.

   7. On April 7, 2023, the D.C. Circuit ruled in United States v. Fischer, 22-3038 (D.C. Circuit

       2023). That ruling was a consolidated appeal from the government in three cases from this

       Court: United States v. Joseph Fischer, 21-cr-234 (CJN), United States v. Edward Lang, 21-

       cr-053 (CJN), and United States v. Garret Miller, 21-cr-119 (CJN). The Circuit court reversed.

   8. The government now moves this Court for a hearing on both the pretrial violation and the

       motion to withdraw the guilty plea. Government counsel has consulted with the defense, and

       both parties are available for a hearing on May 4, 2023, if that is amenable to the Court.

   Therefore, the government would request an in-person hearing to address both matters at soonest

possible opportunity available to the Court and the parties.

                                       Respectfully submitted,

                                       MATTHEW M. GRAVES
                                       United States Attorney

                                          /s/
                                       KIMBERLY L. PASCHALL
                                       Assistant United States Attorney
                                       National Security Section
                                       D.C. Bar 1015665
                                       U.S. Attorney’s Office
                                       601 D Street NW
                                       Washington, D.C. 20530
                                       202-252-2650
                                       Kimberly.Paschall@usdoj.gov




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